   Case: 1:03-cv-01537 Document #: 284 Filed: 10/20/05 Page 1 of 4 PageID #:5269




                             UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


JERRY R. SUMMERS, GEORGE T.
LENORMAND, JEFFREY D. CRITES,
LOUISE VAN RENSBURG and JAMES E.                         Case No. 03 C 1537
SHAMBO, individually and on behalf of all
others similarly situated,

                             Plaintiffs,
                                                         Hon. Samuel Der-Yeghiayan
        v.

UAL CORPORATION ESOP COMMITTEE,
MARTY TORRES, BARRY WILSON, DOUG
WALSH, IRA LEVY, DON CLEMENTS,
CRAIG MUSA, and STATE STREET BANK &
TRUST COMPANY,

                           Defendants.



          PLAINTIFFS’ MOTION TO APPROVE FORM OF ADDITIONAL NOTICE IN
                      CONNECTION WITH PARTIAL SETTLEMENT


        Plaintiffs, Jerry R. Summers, George T. Lenormand, Jeffrey D. Crites, Louise

Van Rensburg and James E. Shambo, on behalf of themselves and the Settlement Class,

respectfully request that the Court grant Plaintiffs’ Motion To Approve Form of Additional

Notice In Connection With Partial Settlement. In Support thereof, Plaintiffs state as follows:

        1.       Plaintiffs’ Motion should be granted because: (i) the Court granted Final

Approval to the Partial Settlement between the Settlement Class and the ESOP Committee

members on October 12, 2005; (ii) the Court has ordered that Additional Notice be mailed to

Settlement Class members by October 28, 2005; and (iii) the Additional Notice is the best

practicable.

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   Case: 1:03-cv-01537 Document #: 284 Filed: 10/20/05 Page 2 of 4 PageID #:5270




        2.       Plaintiffs submit the accompanying Memorandum of Law (with Exhibits) in

support of this Motion.

        WHEREFORE, Plaintiffs respectfully request that this Court grant Plaintiffs’ Motion To

Approve Form of Additional Notice In Connection With Partial Settlement.

        DATED: October 20, 2005
                                            HAGENS BERMAN SOBOL SHAPIRO LLP


                                            By /s/ Andrew M. Volk
                                               Steve W. Berman
                                               Andrew M. Volk
                                               Nicolas Styant-Browne
                                               HAGENS BERMAN SOBOL SHAPIRO LLP
                                               1301 Fifth Avenue, Suite 2900
                                               Seattle, WA 98101
                                               (206) 623-7292

                                                Timothy A. Scott
                                                Elizabeth A. Fegan
                                                HAGENS BERMAN SOBOL SHAPIRO LLP
                                                60 W. Randolph St., Suite 200
                                                Chicago, IL 60601
                                                (312) 762-9237

                                                Kenneth A. Wexler
                                                Jennifer Fountain Connolly
                                                THE WEXLER FIRM LLP
                                                One North LaSalle St., Suite 2000
                                                Chicago, IL 60602
                                                (312) 346-2222

                                                Attorneys for Plaintiffs




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1679.10 0139 MTN.DOC
   Case: 1:03-cv-01537 Document #: 284 Filed: 10/20/05 Page 3 of 4 PageID #:5271




                                    CERTIFICATE OF SERVICE

        I, Andrew M. Volk, affirm that we caused copies of Plaintiffs’ Motion To Approve
Form Of Additional Notice In Connection With Partial Settlement to be electronically filed
with the Clerk of the Court on October 20, 2005 using the CM/ECF system which will send
notification of such filing upon the following ECF participants:

        •        Kenneth Matthew Abell
                 kabell@novackandmacey.com

        •        Brenna Binns
                 bbinns@schiffhardin.com; edocket@schiffhardin.com

        •        Max G. Brittain, Jr
                 mbrittain@schiffhardin.com

        •        Jennifer Fountain Connolly
                 jfconnolly@wexlerfirm.com

        •        Ronald S Kravitz
                 rkravitz@linerlaw.com

        •        Mitchell L. Marinello
                 mmarinello@novackandmacey.com

        •        Heather R McDonald
                 hmcdonald@schiffhardin.com

        •        Randall J Sunshine
                 rsunshine@linerlaw.com

        •        Kenneth A. Wexler
                 kawexler@wexlerfirm.com; lvazquez@wexlerfirm.com

        •        Steve W. Berman
                 steve@hbsslaw.com

        •        Timothy A. Scott
                 tims@hbsslaw.com




                                                -3-



1679.10 0139 MTN.DOC
   Case: 1:03-cv-01537 Document #: 284 Filed: 10/20/05 Page 4 of 4 PageID #:5272




    I further certify that I sent by UPS Next Day Air a hard copy to the following attorney:

    Howard Shapiro
    Rene E. Thorne
    Proskauer Rose LLP
    909 Poydras Street, Suite 1100
    New Orleans, LA 70112-4017

Counsel for Defendants UAL Corporation ESOP Committee, Marty Torres, Barry Wilson,
Doug Walsh, Ira Levy, Don Clements, and Craig Musa

        Dated: October 20, 2005                                     /s/ Andrew M. Volk
                                                                    Andrew M. Volk




                                                  -4-



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